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UNITED STATES DISTRICT COURT! 193.79 0 S17
MIDDLE DISTRICT OF FLORIDA spas
TAMPA DIVISION ae
UNITED STATES OF AMERICA
v. CASE NO. ©.16-Cr- 167-7=/17 55S

18 U.S.C. § 1956(h)
18 U.S.C. § 1956(a)(1)(B))

 

DOUGLAS EDWIN CASIMIRI
Need ON Wd a I
INDICTMENT RAID
The Grand Jury charges:
COUNT ONE

(Conspiracy to Commit Money Laundering — 18 U.S.C. § 1956(h))
A. Introduction

At times material to this Indictment:

1. DOUGLAS EDWIN CASIMIRI (“CASIMIRI”) was a resident
of Pinellas County, Florida, who opened accounts at national banks in the
Middle District of Florida, and elsewhere, and recruited others to do so for him.

2. Co-conspirator #1 was a resident of Florida who worked with
CASIMIRI to open bank accounts in the Middle District of Florida.

3. Co-conspirator #2 was a resident of Florida who was recruited by,
and worked with, CASIMIRI and Co-conspirator #1 to open bank accounts in

the Middle District of Florida.
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4, “Consortium Solutions International LLC,” “Empire Capital
Partners, LLC,” “Alliance International Limited, LLC,” and “Cornerstone
Financial Strategies, LLC” were each shell companies registered to CASIMIRI
with the Florida Department of State, Division of Corporations. CASIMIRI
went on to open various bank accounts in the name of those shell companies, or
in the names of entities associated with such companies under “doing business
as” or “fictitious name” registrations, for use by him and other conspirators.

5. “Liberty Global Partners, LLC” was a shell company registered to
Co-conspirator #2 with the Florida Department of State, Division of
Corporations. CASIMIRI and Co-conspirator #2 went on to open various
bank accounts in the name of “Liberty Global Partners, LLC,” or in the names
of entities associated with such company under “doing business as” or
“fictitious name” registrations, for use by them and other conspirators.

6. A “boiler room” was a type of illegitimate sales operation that
used high-pressure sales techniques, sophisticated mass-marketing, and
misrepresentations to defraud individuals into believing they were investing
money in regulated securities, financial products, stocks, and other
investments.

7. The term “loading” referred to a tactic used by boiler room sales

agents to convince victims to send additional funds for a purported investment
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opportunity, or related fees and expenses, in order to obtain the return or profit
that was initially promised.
B. The Conspiracy
8. Beginning on an unknown date, but at least as early as in or
around February 2015, and continuing through and including the date of this
Indictment, in the Middle District of Florida and elsewhere, the defendant,
DOUGLAS EDWIN CASIMIRI,
did knowingly and willfully combine, conspire, and agree with Co-conspirator
#1, Co-conspirator #2, and other persons, both known and unknown to the
Grand Jury, to commit offenses against the United States, in violation of 18
U.S.C. § 1956, that is:

a. to conduct a financial transaction affecting interstate and
foreign commerce, namely, to transport, transmit, and transfer monetary
instruments and funds which involved the proceeds of a specified unlawful
activity, that is, wire fraud, in violation of 18 U.S.C. § 1343, with the intent to
promote the carrying on of said specified unlawful activity, knowing that the
property involved in the financial transaction represented the proceeds of some

form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(1)(A)(); and
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b. to conduct a financial transaction affecting interstate and
foreign commerce, namely, to transport, transmit, and transfer monetary
instruments and funds which involved the proceeds of a specified unlawful
activity, that is, wire fraud, in violation of 18 U.S.C. § 1343, knowing that the
transaction was designed in whole and in part to conceal and disguise the
nature, location, source, ownership and control of the proceeds of said specified
unlawful activity, knowing that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity, in
violation of 18 U.S.C. § 1956(a)(1)(B)(i).

C. Manner and Means

9. The manner and means by which the conspirators sought to
accomplish the objects of the conspiracy included, among others, the following:

10. ‘It was a part of the conspiracy that conspirators would and did use
interstate and foreign wire communications to defraud individuals throughout
the world, and obtain funds from them by means of materially false and
fraudulent pretenses and representations;

11. It was further part of the conspiracy that conspirators would and
did incorporate shell companies with fictitious names and then open, and cause
to be opened, bank accounts in the names of those shell companies at various

federally insured financial institutions in the Middle District of Florida and
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elsewhere. These accounts were opened exclusively for the purpose of
receiving, transmitting, or otherwise obtaining the proceeds of specified
unlawful activity;

12. It was further part of the conspiracy that conspirators, when
opening the bank accounts, would and did make materially false and fraudulent
representations to the banks regarding the nature of the businesses that the shell
companies were engaged in;

13. It was further part of the conspiracy that conspirators working for
boiler rooms would and did contact foreign victims, via interstate and foreign
emails and telephone calls, for the purpose of offering bogus investment and
other financial opportunities. In truth and in fact, however, the purpose of
those contacts was to gain their victims’ trust and solicit money from them by
means of materially false and fraudulent pretenses and representations;

14. ‘It was further part of the conspiracy that conspirators working for
boiler rooms would and did contact foreign victims, via interstate and foreign
emails and telephone calls, for the purpose of “loading” them and soliciting
even more money once the victims had been deprived of their initial
investments;

15. It was further part of the conspiracy that conspirators working for

boiler rooms would and did instruct victims to wire funds for the purported
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investment opportunities, and related fees and expenses, into the bank accounts
of shell companies and other entities created and controlled by conspirators in
the United States;

16. It was further part of the conspiracy that conspirators would and
did contact foreign victims, via interstate and foreign mailings, emails, and
telephone calls, for the purported purpose of having them renew trademarks
that the conspirators claimed were set to expire. In truth and in fact, however,
the conspirators were not acting on behalf of any legitimate trademark
organization or government authority, and were soliciting money from the
victims by means of materially false and fraudulent pretenses and
representations;

17. _ It was further part of the conspiracy that conspirators would and
did instruct victims to wire funds for the purported trademark renewals, and
related fees, into the bank accounts of shell companies and other entities created
and controlled by conspirators in the United States;

18. It was further part of the conspiracy that conspirators would and
did contact foreign victims, via interstate and foreign emails and telephone
calls, for the purported purpose of buying their collections of gems, precious
stones, and jewelry. In truth and in fact, however, the conspirators did not

intend to actually buy those collections, and were soliciting money from the
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victims by means of materially false and fraudulent pretenses and
representations;

19. It was further part of the conspiracy that conspirators would and
did instruct victims to wire funds to complete the sale of their collections of
gems, precious stones, and jewelry, as well as related fees, into the bank
accounts of shell companies and other entities created and controlled by
conspirators in the United States;

20. It was further part of the conspiracy that conspirators would and
did wire and send, and cause to be wired and sent, the proceeds that they had
fraudulently obtained from victims to multiple financial institutions, including
financial institutions located outside of the United States, in order to promote
the carrying on of the aforementioned fraud schemes;

21. It was further part of the conspiracy that conspirators would and
did wire and send, and cause to be wired and sent, the proceeds that they had
fraudulently obtained from victims to multiple financial institutions, including
financial institutions located outside of the United States, in order to conceal
and disguise the source of, and to hinder any efforts to locate, those proceeds;

22. It was further part of the conspiracy that conspirators would and
did withdraw, and cause to be withdrawn, in cash the proceeds that they had

fraudulently obtained from victims, in order to conceal and disguise the source
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of, and to hinder any efforts to locate, those proceeds;

23. It was further part of the conspiracy that conspirators would and
did share in the proceeds of the fraud schemes, usually receiving a set
percentage of the proceeds that they received, withdrew, handled and
transferred; and

24. It was further part of the conspiracy that conspirators would and
did perform acts and make statements to misrepresent, hide, and conceal, and
cause to be misrepresented, hidden, and concealed, the purpose of the
conspiracy and the acts committed in furtherance thereof.

All in violation of 18 U.S.C. § 1956(h).

COUNTS TWO THROUGH TWENTY-TWO
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)()

1. Paragraphs 1 through 7 of Count One of this Indictment are
hereby realleged and incorporated by reference as though fully set forth herein.

2. On or about the dates listed below, in the Middle District of
Florida and elsewhere, the defendant,

DOUGLAS EDWIN CASIMIRI,

did conduct, and aid and abet others in conducting, a financial transaction
affecting interstate and foreign commerce, namely, to transport, transmit and
transfer monetary instruments and funds which involved the proceeds of a

specified unlawful activity, that is, wire fraud, in violation of 18 U.S.C. § 1343,
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knowing that the transaction was designed in whole and in part to conceal and

disguise the nature, location, source, ownership and control of the proceeds of

said specified unlawful activity, knowing that the property involved in the

financial transaction represented the proceeds of some form of unlawful

activity:

 

 

 

 

 

 

 

 

 

Two October 5, $20,000 Wire from CASIMIRI’s account at Bank
2017 of America (-9051) to his account at
BB&T Bank (-0836)
Three October 17, $18,000 Wire from CASIMIRI’s account at Bank
2017 of America (-9051) to his account at
BB&T Bank (-0836)
Four October 26, $15,996.01 | Wire from CASIMIRI’s account at Bank
2017 of America (-9051) to his account at
BB&T Bank (-0836)
Five November 1, $4,950 Wire from CASIMIRI’s account at Bank
2017 of America (-9051) to his account at
BB&T Bank (-0836)
Six November 28, $14,000 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Bangkok Bank in Thailand (-8404)
Seven | November 29, $8,500 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Bangkok Bank in Thailand (-8404)
Eight November 30, | $192,406.95 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Wells Fargo in Georgia (-0390)
Nine November 30, | $24,732.68 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at

 

 

 

Wells Fargo in Georgia (-0390)

 

 
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Ten November 30, | $7,677.83 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
DSK Bank in Bulgaria (-3831)
Eleven | December 1, $5,600.64 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Bank of America in Florida (-1098)
Twelve | December 1, $58,634.84 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at DBS
Bank in Hong Kong (-2476)
Thirteen | December 1, $2,000 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Caxiabank in Spain (-5234)
Fourteen | December 4, $1,600 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Bank of America in Florida (-6467)
Fifteen | December 4, $37,338.25 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
HSBC Bank in Hong Kong (-1838)
Sixteen | December 4, $5,000 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Investbank in the Marshall Islands
(-6600)
Seventeen | December 5, $18,600 Wue from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Bankgkok Bank in Thailand (-8404)
Eighteen { December 5, $925 Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
Investbank in the Marshall Islands
(-6600)
Nineteen | December 5, $25,000 | Wire from CASIMIRI’s account at
2017 BB&T Bank (-0836) to an account at
DSK Bank in Bulgaria (-4462)

 

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Twenty | January 16, $400 Cash withdrawal from Co-conspirator
2018 #2’s account at Fifth Third Bank (-4595)

Twenty- | January 26, $500 Cash withdrawal from Co-conspirator
one 2018 #2’s account at Fifth Third Bank (-4595)

Twenty- | January 28, $500 Cash withdrawal from Co-conspirator
two 2018 #2’s account at Fifth Third Bank (-4595)

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1956(a)(1)(B)G) and 2.
FORFEITURE

1. The allegations contained in Counts One through Twenty-Two of
this Indictment are hereby realleged and incorporated by reference for the
purpose of alleging forfeitures pursuant to the provisions of 18 U.S.C. §
982(a)(1).

2. Upon a conviction of a violation of 18 U.S.C. § 1956 as alleged in
Counts One through Twenty-Two, the defendant,

DOUGLAS EDWIN CASIMIRI, |

shall forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(1),
any property, real or personal, involved in such offense and any property
traceable to such property.

3. The assets to be forfeited include, but are not limited to, the

following property which was involved in the offenses:

1]
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An order of forfeiture in an amount which represents the
proceeds of the offenses;

Approximately $65,018.15 seized from account ending -5392
at Bank of America;

Approximately $48,145.12 seized from account ending -4584
at Bank of America;

Approximately $14,519.24 seized from account ending -9051
at Bank of America;

Approximately $18,058.55 seized from account ending -6131
at Bank of America;

Approximately $54,875.64 seized from account ending -4595
at Fifth Third Bank;

Approximately $32,297.66 seized from account ending -8045
at Bank of America;

Approximately $25,781.03 seized from account ending -5194
at Regions Bank;

Approximately $184,063.69 seized from account ending -6999
at SunTrust Bank; and

Approximately $25,816.03 seized from account ending -0848
at SunTrust Bank.

4. If any of the forfeitable assets described above, as a result of any

act or omission of the defendant:

(a)
(b)

(c)

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
person;

has been placed beyond the jurisdiction of the Court;

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(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be
subdivided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

under the provisions of 21 U.S.C. §853(p), as incorporated by 18 U.S.C. §

982(b)(1).

A TRUE BILL,

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Foreperson

MARIA CHAPA LOPEZ
United States Attorney

By: / Ak ad Ko Sun
Patrick D. Scruggs

Assistant United States Attorne

 

 

By:
Cimon A. GatigushC)
Assistant United States Attorney
Chief, Economic Crimes Section

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FORM OBD-34
March 18

 

 

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

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THE UNITED STATES OF AMERICA
VS.

DOUGLAS EDWIN CASIMIRI

INDICTMENT
Violations: 18 U.S.C. §§ 1956(h), 1956(a)(1(B)(i)

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~ Filed in open court this 5" day

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of April 2018.

 

Clerk

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